            Case 1:15-cr-00867-RMB Document 83 Filed 09/14/16 Page 1 of 21



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
                                                                        :
 UNITED STATES OF AMERICA
                                                                        :
                      - v. -                                                   S1 15 Cr. 867 (RMB)
                                                                        :
 REZA ZARRAB,
    a/k/a “Riza Sarraf,”                                                :

                                Defendant.                             :

                                                                        :
 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x




              GOVERNMENT’S MEMORANDUM OF LAW IN OPPOSITION TO
                 DEFENDANT REZA ZARRAB’S MOTION TO RECUSE




                                                                       PREET BHARARA
                                                                       United States Attorney for the
                                                                       Southern District of New York
                                                                       Attorney for the United States of America

Michael D. Lockard
Sidhardha Kamaraju
David W. Denton, Jr.
Dean C. Sovolos
Assistant United States Attorneys
       Of Counsel
            Case 1:15-cr-00867-RMB Document 83 Filed 09/14/16 Page 2 of 21



                                                         Table of Contents

PRELIMINARY STATEMENT .................................................................................................... 1

BACKGROUND ............................................................................................................................ 2

          A.         The Indictment ........................................................................................................ 2

          B.         Zarrab’s Initial Appearance .................................................................................... 3

          C.         The Symposium ...................................................................................................... 4

          D.         Zarrab’s Extensive Motion Practice After the Court’s Disclosure ......................... 5

ARGUMENT .................................................................................................................................. 6

I.        The Defendant’s Motion Is Untimely ................................................................................. 6

          A.         Applicable Law ....................................................................................................... 6

          B.         Discussion ............................................................................................................... 7

II.       The Defendant’s Motion Does Not Raise a Reasonable Question About the Court’s
                Impartiality.............................................................................................................. 9

          A.         Applicable Law ....................................................................................................... 9

          B.         Discussion ............................................................................................................. 12

CONCLUSION ............................................................................................................................. 17




                                                                       i
             Case 1:15-cr-00867-RMB Document 83 Filed 09/14/16 Page 3 of 21



                                                 TABLE OF AUTHORITIES

Cases
Apple v. Jewish Hosp. & Med. Ctr., 829 F.2d 326 (2d Cir. 1987) ..............................................6, 7
Da Silva Moore v. Publicis Groupe, 868 F. Supp. 2d 137 (S.D.N.Y. 2012), objections overruled
       sub nom. Moore v. Publicis Groupe SA & MSL Grp., No. 11 Civ. 1279 (ALC), 2012 WL
       12528637 (S.D.N.Y. Nov. 8, 2012) ...................................................................................11
In re Aguinda, 241 F.3d 194 (2d Cir. 2001) .......................................................................... passim
In re Int’l Bus. Mach. Corp., 45 F.3d 641 (2d Cir. 1995)................................................................6
In re Drexel Burnham Lambert Inc., 861 F.2d 1307 (2d Cir. 1988) .............................9, 10, 11, 15
In re Judicial Misconduct, 632 F.3d 1289 (9th Cir. 2011) ......................................................11, 13
In re Martin-Trigona, 573 F.Supp. 1237 (D. Conn. 1983) ..............................................................7
In re Sch. Asbestos Litig., 977 F.2d 764 (3d Cir. 1992), as amended (Oct. 8, 1992) ....................13
Lamborn v. Dittmer, 726 F. Supp. 510 (S.D.N.Y. 1989) ..........................................................9, 10
Ligon v. City of New York, 736 F.3d 118 (2d Cir. 2013), vacated in part, 743 F.3d 362
       (2d Cir. 2014) .....................................................................................................................13
Liteky v. United States, 510 U.S. 540 (1994).....................................................................10, 12, 15
Nat’l Auto Brokers Corp. v. Gen. Motors Corp., 572 F.2d 953 (2d Cir.1978) .............................11
Omega Eng’g, Inc. v. Omega, S.A., 432 F.3d 437 (2d Cir. 2005) ...................................................8
Polizzi v. United States, 926 F.2d 1311 (2d Cir. 1991) ...................................................................6
United States v. Durrani, 835 F.2d 410 (2d Cir. 1987) ...................................................................7
United States v. Lovaglia, 954 F.2d 811 (2d Cir. 1992) ........................................................ passim
United States v. Pitera, 5 F.3d 624 (2d Cir. 1993) ..................................................................11, 13
United States v. S. Florida Water Mgmt. Dist., 290 F. Supp. 2d 1356 (S.D. Fla. 2003) ...............14
United States v. Wallach, 788 F. Supp. 739 (S.D.N.Y.), aff’d, 979 F.2d 912 (2d Cir. 1992) .........6
Weisshaus v. New York, No. 08 Civ. 4053 (DLC), 2009 WL 4823932 (S.D.N.Y. Dec. 15, 2009),
      aff’d sub nom. Weisshaus v. Fagan, 456 F. App’x 32 (2d Cir. 2012) .................................8
Statutes
18 U.S.C. § 371 ................................................................................................................................2
18 U.S.C. § 1349 ..............................................................................................................................2
18 U.S.C. § 1956 ..............................................................................................................................2
28 U.S.C. § 144 ................................................................................................................................6
28 U.S.C. § 455 ................................................................................................................................9

                                                                       ii
             Case 1:15-cr-00867-RMB Document 83 Filed 09/14/16 Page 4 of 21



50 U.S.C. § 1705 ..............................................................................................................................2
Regulations
31 C.F.R. § 560.203 .........................................................................................................................2
31 C.F.R. § 560.204 .........................................................................................................................2




                                                                      iii
          Case 1:15-cr-00867-RMB Document 83 Filed 09/14/16 Page 5 of 21




                                PRELIMINARY STATEMENT

         The Government respectfully submits this memorandum of law in opposition to

defendant Reza Zarrab’s motion to recuse the Court (“Mot.”) due to a claimed appearance of

partiality.

         First, the defendant’s motion is untimely. A motion for recusal must be filed promptly

after the moving party learns of the alleged basis for recusal. Failure to do so results in a waiver.

The facts underlying the defendant’s motion—the Court’s participation at a conference in

Istanbul two years ago—were known to the defendant more than four months ago, before this

defendant began to vigorously litigate this case in the Court. Indeed, at the first appearance

before the Court on April 27, 2016, defense counsel stated that he knew about these facts and

that they were not a reason for recusal. The defendant has delayed too long to now seek a new

judge.

         Second, the defendant’s bases for recusal are without merit. As discussed below, the

defendant’s claims rely on a mischaracterization of the Court’s remarks at the Istanbul

conference, rank speculation, and impermissible consideration of press coverage. The comments

about which the defendant complains were no more than noncontroversial opinions about

fundamental principles of a fair and effective justice system, like judicial independence and

impartiality. Additionally, while the defendant argues that this case is “extraordinary,” there is

nothing in the Court’s conduct that provides a legitimate basis to question the Court’s

commitment to impartiality. Accordingly, as explained in more detail below, the defendant’s

motion should be denied.
         Case 1:15-cr-00867-RMB Document 83 Filed 09/14/16 Page 6 of 21



                                         BACKGROUND

       A.      The Indictment

       On or about March 30, 2016, an indictment was returned by a grand jury sitting in this

District, S1 15 Cr. 867 (RMB) (the “Indictment”), charging Zarrab, along with co-defendants

Hossein Najafzadeh and Camelia Jamshidy, with: (i) conspiring to defraud the United States, in

violation of Title 18, United States Code, Section 371; (ii) conspiring to violate the International

Emergency Economic Powers Act (“IEEPA”) and the Iranian Transactions and Sanctions

Regulations (“ITSR”), in violation of Title 50, United States Code, Section 1705 and Title 31,

Code of Federal Regulations, Sections 560.203 and 560.204; (iii) conspiring to commit bank

fraud, in violation of Title 18, United States Code, Section 1349; and (iv) conspiring to commit

money laundering, in violation of Title 18, United States Code, Section 1956. 1

       As alleged in the Indictment, defendant Reza Zarrab owned and operated a network of

companies located in Turkey and in the United Arab Emirates, including a group of companies

under Royal Holding A.S. (“Royal Holding”), a holding company in Turkey; Durak Doviz

Exchange, a money services business in Turkey; and Al Nafees Exchange LLC (“Al Nafees

Exchange”), a money services business in the United Arab Emirates. (Indictment ¶ 9). Zarrab

used this network of companies along with other entities and banks located in Turkey and the

United Arab Emirates to conduct international financial transactions, including U.S.-dollar

denominated transactions, on behalf of or for the benefit of Iranian entities, including entities

owned or controlled by the Government of Iran and entities affiliated with the Islamic

Revolutionary Guard Corps (“IRGC”), such as Bank Mellat (a Government-owned Iranian


1
 An underlying indictment, charging the same offenses but containing different venue allegations,
was filed under seal on December 15, 2015. The Indictment alleges venue based on acts occurring
or caused in the Southern District of New York.

                                                  2
         Case 1:15-cr-00867-RMB Document 83 Filed 09/14/16 Page 7 of 21



bank), the National Iranian Oil Company (“NIOC”)—identified at the time by OFAC as an

affiliate of the IRGC—and various entities owned or controlled by NIOC. (Id. ¶¶ 6-8, 12).

        B.      Zarrab’s Initial Appearance

        On March 19, 2016, Zarrab flew into Miami, Florida from Turkey, and was arrested.

After being presented in the Southern District of Florida, Zarrab was transferred to this District

and his initial appearance was on April 27, 2016. At the outset of the conference, the Court

notified the parties of its participation in a legal symposium in Istanbul, Turkey, in May 2014,

entitled “Justice and Rule of Law” (the “Symposium”). The Court described the nature of the

Symposium, its sponsors, some of the other participants, and the nature of a panel that the Court

had moderated. (See Transcript of April 27, 2016 conference (“Tr.”) at 2-3, attached hereto as

Exhibit A). The Court distributed a copy of the agenda of the meeting (id. at 4) and stated: “My

participation in this panel does not impact my ability to preside over this case fairly and

impartially, and to ensure that Mr. Zarrab, who is presumed to be innocent, as you all know,

receives a fair and impartial hearing and eventual trial.” (Id.).

        Defense counsel immediately disclosed that the defense already was aware of the Court’s

participation in the Symposium and agreed that it raised no question about the Court’s

impartiality in this case:

                Might I add, your Honor, that with all modesty, you have proven me
                correct. I was familiar with your Honor’s remarks and appearance
                in Istanbul because, in our thoroughness, we try and follow
                everything that everyone does.

                And I think you know the great -- so I said that the first thing the
                Judge is going to do is raise the fact that he participated in the panel,
                so I’m glad that you proved me correct.

                You understand, I think, my great respect for this Court, and my
                experience here has allowed me to conclude that you are indeed a
                fair and impartial judge, so I appreciate your giving us this. We have
                seen nothing to date which would suggest that you could not

                                                   3
          Case 1:15-cr-00867-RMB Document 83 Filed 09/14/16 Page 8 of 21



                participate in any way, and obviously, we appreciate the fact that
                you brought it to our attention.

(Id. at 4-5).

        C.      The Symposium

        The Symposium occurred on May 8 and 9, 2014, in Istanbul, Turkey. The Court was

joined at the Symposium by a number of well-respected participants, including diplomats,

members of law enforcement, current and former jurists, legal scholars, and practicing attorneys.

(Def. Ex. 2 at 1, 15, 25, 31, 37, 91, 143, 167, 195). 2 The Court chaired one panel of this

program, entitled “Independent and Effective Judiciary.” (Id. at 167).

        According to a Symposium program, its opening remarks to the panel the Court

emphasized the importance of judicial independence and impartiality and described fundamental

principles of separation of powers, transparency, ensuring the qualifications of the judiciary,

ethical standards, and applying “the rule of law and not the rule of man.” (Id. at 169). Without

identifying any specific case, the Court noted that “it is no secret that the rule of law as

contrasted with the rule of man is under some attack in Turkey,” referring to comments by

European Union representatives at the Symposium about “how concerned they were about

certain developments here, in Turkey.” (Id. at 168). Again without specifying any particular

case, the Court also stated that it was important that politicians did not “introduce new rules

and/or . . . change the rules of the game much less . . . change the participants in the game while

the very game is in progress.” (Id.). The Court also described remarks by the President of the

Turkish Constitutional Court in April 2014 as “impressive.” (Id.). Finally, the Court also noted

that it had attended a program in Albania the previous year, and that similar issues were


2
  Citations to “Def. Ex.” are to exhibits attached to the Declaration of Christine H. Chung
accompanying the defendant’s motion for recusal.

                                                  4
         Case 1:15-cr-00867-RMB Document 83 Filed 09/14/16 Page 9 of 21



discussed at that event. (See id. at 180). According to the Symposium program, at no point

during the panel, or the entire Symposium, was the defendant’s name or case mentioned. 3

       D.      Zarrab’s Extensive Motion Practice After the Court’s Disclosure

       After his initial appearance before the Court, Zarrab proceeded to vigorously litigate the

case for the next four months. During that time, Zarrab filed three motions before this one,

including: (i) a motion for bail, which the Court denied on June 16, 2016, after receiving

substantial briefing and holding a lengthy bail argument; 4 (ii) a motion to dismiss the Indictment,

filed on July 19, 2016, and previously scheduled for oral argument on September 6, 2016; and

(iii) a motion to suppress evidence, also filed on July 19 and scheduled for oral argument on

September 6. The motions to dismiss the Indictment and to suppress evidence remain pending,

and oral argument was adjourned after the defendant’s filing of the instant motion. In advance of

that hearing, the Court entered an order identifying specific topics that it expected the parties be

prepared to address, all of which dealt with Zarrab’s motion to suppress. Only after the Court

entered that order, and a week before oral argument was scheduled, did the defendant file the

instant motion seeking the Court’s recusal.




3
 The defendant cites to a webpage that claims that the Court gave an interview to Today’s Zaman,
a Turkish newspaper, in which the Court made similar statements, and specifically criticized
Turkish President Recep Tayyip Erdogan’s ban on Twitter. (Def. Ex. 1).
4
  At oral argument on the defendant’s motion to be released on bail conditions, the Court noted:
“First, I want to say preliminarily and very emphatically that we are not -- underscore not --
resolving or even considering the issue of Mr. Zarrab’s guilt or innocence in this proceeding today.
Mr. Zarrab is presumed to be innocent under our legal system, and that presumption carries right
up until the time, if it comes, that he may be determined to be guilty or not following a trial. The
presumption of innocence is a very important concept in our judicial system.” (Transcript of June
2, 2016 bail hearing at 2-3). The Court re-emphasized this point in its order denying the bail
motion. (See D.E. 41, Order dated June 16, 2016 (“Bail Order”) at 7 n.4).

                                                  5
         Case 1:15-cr-00867-RMB Document 83 Filed 09/14/16 Page 10 of 21



                                           ARGUMENT

        The defendant’s motion fails both as a matter of procedure and of merit. As a matter of

procedure, the defendant’s months-long delay in filing this motion requires dismissal of the

defendant’s motion as untimely, particularly in light of the substantial litigation that has already

occurred and defense counsel’s acknowledgement at the outset of this action that there was no

basis for recusal. As a matter of merit, there is nothing in the Court’s noncontroversial

statements about fundamental principles of law, which make no mention of Zarrab, that would

suggest to an objective observer that the Court is unable to provide the defendant with a fair and

impartial trial.

I.      The Defendant’s Motion Is Untimely

        A. Applicable Law

        A motion for recusal must be filed in a timely manner, see 28 U.S.C. § 144; see also

United States v. Wallach, 788 F. Supp. 739, 742 (S.D.N.Y.), aff’d, 979 F.2d 912 (2d Cir. 1992),

which requires that the motion be filed “at the earliest possible moment after obtaining

knowledge of facts demonstrating the basis for such a claim.” Apple v. Jewish Hosp. & Med.

Ctr., 829 F.2d 326, 333-34 (2d Cir. 1987). Careful adherence to the requirement of a “prompt

application avoids the risk that a party is holding back a recusal application as a fall-back

position in the event of adverse rulings on pending matters.” In re Int’l Bus. Mach. Corp., 45

F.3d 641, 643 (2d Cir. 1995).

        Failure to make a timely motion for recusal constitutes waiver of the claim. See Polizzi v.

United States, 926 F.2d 1311, 1321 (2d Cir. 1991). In assessing whether a claim of apparent bias

has been waived for untimeliness, the Second Circuit has instructed courts to consider a number

of factors, including whether “(1) the movant has participated in a substantial manner in trial or

pre-trial proceedings, (2) granting the motion would represent a waste of judicial resources, (3)

                                                  6
        Case 1:15-cr-00867-RMB Document 83 Filed 09/14/16 Page 11 of 21



the motion was made after the entry of judgment, and (4) the movant can demonstrate good

cause for delay.” Apple, 829 F.2d at 333-34. Moreover, even if a belatedly filed motion is

considered on the merits, delay strongly cuts against the defendant’s argument. See, e.g., United

States v. Durrani, 835 F.2d 410, 427 (2d Cir. 1987) (delay of four months warranted denial of

motion; discussing In re Martin-Trigona, 573 F.Supp. 1237, 1244 (D. Conn. 1983) (denying

motion for recusal after delay of twelve days)).

       B. Discussion

       Initially, there is no need for the Court to reach the merits of the defendant’s motion

because he has already defaulted by waiting more than four months after learning of the Court’s

participation in the Symposium. After the Court raised the issue at the defendant’s first

appearance before it, Zarrab’s counsel indicated that he was “familiar with [the Court’s] remarks

and appearance in Istanbul,” that he had concluded that the Court was a “fair and impartial

judge,” and that there was “nothing to date which would suggest that you could not participate in

any way . . . .” (See Ex. A at 4-5). Thus, more than four months ago, the defendant was not only

aware of the alleged conflict that he seeks to raise now, but had already determined that it was

not an issue. Far from raising the issue at the “earliest moment” after learning of the alleged

basis for recusal, the defendant has been dilatory, and that alone warrants denial of the motion.

See, e.g., Durrani, 835 F.2d at 427 (delay of four months warranted denial of motion).

       The other factors that the Court is to consider in evaluating the timeliness of the

defendant’s motion similarly support denial of the motion. First, Zarrab has participated in pre-

trial proceedings in a substantial way by filing: (a) a hotly contested bail motion, which involved

seven rounds of submissions, oral argument, and a 30-page opinion and order denying the

application; (b) a motion to dismiss the Indictment, which has been fully briefed and was mere

days away from argument prior to the instant motion; and (c) a fully briefed motion to suppress

                                                   7
        Case 1:15-cr-00867-RMB Document 83 Filed 09/14/16 Page 12 of 21



evidence, which was subject to a supplemental order from this Court. Second, the Court has

already expended substantial judicial resources presiding over this case, having reviewed

voluminous briefing in connection with these motions and identified specific issues for

consideration, conducting a lengthy bail argument, and issuing a detailed opinion denying bail.

Third, while no judgment has been entered, the absence of a judgment is not dispositive, and the

defendant’s motion comes after the defendant’s bail application was denied by the Court, in

connection with which the Court heard argument about the Turkish prosecution without any

suggestion from the defendant that the issue created an appearance of impropriety for the Court.

See, e.g., Omega Eng’g, Inc. v. Omega, S.A., 432 F.3d 437, 448 (2d Cir. 2005) (denying motion

for recusal where movant “waited until the middle of the evidentiary hearing . . . seven months

later—to move for recusal”); Weisshaus v. New York, No. 08 Civ. 4053 (DLC), 2009 WL

4823932, at *4 (S.D.N.Y. Dec. 15, 2009), aff’d sub nom. Weisshaus v. Fagan, 456 F. App’x 32

(2d Cir. 2012) (denying motion when a litigant filed a motion to recuse “prior to final

judgment, . . . [but only] after the Court ordered Weisshaus to submit to a deposition”).

       The fourth factor is whether the defendant can establish “good cause” for his delay.

Simply put, the defendant cannot satisfy this burden. Months ago, the defendant, through his

counsel, indicated that the Court’s remarks at the Symposium did not require recusal. Nothing

has changed since that time—the Court’s comments remain as innocuous today as they were in

April. Moreover, the defendant’s contention that somehow the Government has tainted the

proceedings by referencing the Turkish prosecution in its bail opposition is a red herring. The

Government’s opposition brief was filed on May 25, 2016, almost four months ago. The

defendant did not, however, suggest in his reply papers, at argument, or at any point in the

intervening months that the Court should now recuse itself because of the Government’s



                                                 8
         Case 1:15-cr-00867-RMB Document 83 Filed 09/14/16 Page 13 of 21



argument. The only thing that did change was that the defendant lost his bail application, and

that is not a basis for recusal.

        Without any explanation for this delay, the defendant claims that the Court should now

recuse itself because certain sponsors of the Symposium have been charged as members of an

alleged anti-government movement in Turkey after the July 2016 attempted coup. But that too

fails to excuse the defendant’s delay, because the Daily Sabah, a Turkish paper, published an

article in May 2016, almost four months ago, alleging the links between those sponsors of the

Symposium and the Gulenist movement. (See Def. Ex. 9). Indeed, the Daily Sabah claims to

have published a story about those alleged links the month before. (See id. at 1). Thus, the very

fact that the defendant now relies upon—that there were allegations of ties between the

Symposium sponsors and the Gulenist movement—was a matter of public record at or around

the time that Zarrab’s counsel agreed that there was no issue and long before the instant motion.

II.     The Defendant’s Motion Does Not Raise a Reasonable Question About the Court’s
        Impartiality

        A.      Applicable Law

        Title 28, United States Code, Section 455(a) requires a district judge to “disqualify

himself in any proceeding in which his impartiality might reasonably be questioned.” 28 U.S.C.

§ 455(a). Further, a judge must disqualify himself when he or she has “a personal bias or

prejudice concerning a party.” 28 U.S.C. § 455(b)(1). The district judge whose partiality has

been asserted may nevertheless decide the motion for recusal: “[d]iscretion is confided in the

district judge in the first instance to determine whether to disqualify himself.” In re Drexel

Burnham Lambert Inc., 861 F.2d 1307, 1312 (2d Cir. 1988).

        Where a motion for recusal has been timely made, the defendant’s burden on the merits

is substantial. See Lamborn v. Dittmer, 726 F. Supp. 510, 514 (S.D.N.Y. 1989). Recusal under


                                                 9
        Case 1:15-cr-00867-RMB Document 83 Filed 09/14/16 Page 14 of 21



Section 455(a) is only required when “an objective, disinterested observer fully informed of the

underlying facts, [would] entertain significant doubt that justice would be done absent recusal.”

United States v. Lovaglia, 954 F.2d 811, 815 (2d Cir. 1992). “Section 455(a) does not require

that [the district court] accept all allegations by the moving party as true.” Lamborn, 726 F.

Supp. at 517. On the contrary, “the grounds asserted in a recusal motion must be scrutinized

with care.” In re Aguinda, 241 F.3d 194, 201 (2d Cir. 2001). “The trial judge must carefully

weigh the policy of promoting public confidence in the judiciary against the possibility that

those questioning his impartiality might be seeking to avoid the adverse consequences of his

presiding over their case.” Drexel, 861 F.2d at 1312.

       The Court must make its determination “not by considering what a straw poll of the only

partly informed man-in-the-street would show[,] but by examining the record facts and the law.”

Id. at 1313. In so examining, “[j]udicial inquiry may not . . . be defined by what appears in the

press. If such were the case, those litigants fortunate enough to have easy access to the media

could make charges against a judge’s impartiality that would effectively veto the assignment of

judges.” Id. at 1309. Accordingly, “the appearance of partiality must have an objective basis

beyond the fact that claims of partiality have been well publicized.” Aguinda, 241 F.3d at 201.

“[A] judge should not grant a recusal motion simply because a claim of partiality has been given

widespread publicity.” Id. at 206.

       In order to show a sufficiently substantial doubt about the Court’s impartiality to warrant

recusal, the defendant must show that the Court has demonstrated “such a high degree of

favoritism or antagonism as to make fair judgment impossible.” Liteky v. United States, 510

U.S. 540, 555 (1994). Recusal is not appropriate where the circumstances giving rise to the

purported appearance of impropriety are “remote, contingent, indirect or speculative.” Lovaglia,



                                                10
        Case 1:15-cr-00867-RMB Document 83 Filed 09/14/16 Page 15 of 21



954 F.2d at 815. The Court, furthermore, has no discretion to recuse itself unless the defendant

has satisfied his heavy burden. See Aguinda, 241 F.3d at 201 (2d Cir. 2001) (“Where the

standards governing disqualification are not met, disqualification is not optional; rather, it is

prohibited.”) (citing Drexel, 861 F.2d at 1312 (“A judge is as much obliged not to recuse himself

when it is not called for as he is obliged to when it is.”)); see also Nat’l Auto Brokers Corp. v.

Gen. Motors Corp., 572 F.2d 953, 958 (2d Cir. 1978) (“[A] judge has an affirmative duty . . . not

to disqualify himself unnecessarily, particularly where the request for disqualification was not

made at the threshold of the litigation and the judge has acquired a valuable background of

experience.”) (internal citations, quotation marks omitted).

       Motions for recusal based on a judge’s participation in extrajudicial educational or

informational activities, including making speeches, should be met with particular skepticism.

“[T]he presumption is that a judge will put personal beliefs aside and rule according to the laws

as enacted, as required by his or her oath,” and no appearance of impropriety is “created by the

fact that every judge inevitably has opinions on the controversies of the day.” Aguinda, 241 F.3d

at 204; see also In re Judicial Misconduct, 632 F.3d 1289, 1289 (9th Cir. 2011) (“Engaging in

such law-related activities—including speeches that comment on current events and legal

developments—is permitted not only because judges are citizens, but because they are

particularly knowledgeable on such topics.”); United States v. Pitera, 5 F.3d 624, 626 (2d Cir.

1993) (affirming denial of recusal motion where district judge had given speeches to law

enforcement agents and prosecutors about “steps they might take to increase the prospects for

conviction in narcotics cases,” and noting that the judge often lectured at trial seminars); Da

Silva Moore v. Publicis Groupe, 868 F. Supp. 2d 137, 163 (S.D.N.Y. 2012), objections overruled

sub nom. Moore v. Publicis Groupe SA & MSL Grp., No. 11 Civ. 1279 (ALC), 2012 WL



                                                  11
        Case 1:15-cr-00867-RMB Document 83 Filed 09/14/16 Page 16 of 21



12528637 (S.D.N.Y. Nov. 8, 2012) (affirming magistrate judge’s denial of recusal motion where

magistrate judge had spoken and written publicly about the benefits of computer-assisted review

in the context of civil discovery, an issue of dispute in the pending case).

       B.      Discussion

       The defendant’s recusal motion is based on the unusual grounds that the Court has made

public remarks defending judicial independence and impartiality. But there is nothing in the

Court’s noncontroversial statements about fundamental principles of law, which make no

mention of Zarrab, that would suggest to an objective observer that the Court has shown “such a

high degree of favoritism or antagonism as to make fair judgment impossible.” Liteky, 510 U.S.

at 555. On the contrary, the Court has, from the beginning, been transparent about the

Symposium and meticulous in making clear to the public that Zarrab will have a fair trial.

Moreover, while the defendant cites to Turkish press accounts as evidence of the alleged impact

of the Court’s statements, the relevant metric is not the press’s reaction, and certainly not

publications propagating conspiracy theories in a foreign country. The correct question is what

“an objective, disinterested observer fully informed of the underlying facts” would think, and,

under that standard, there is no appearance of partiality. Lovaglia, 954 F.2d at 815.

       The defendant attempts to characterize the Court’s remarks at the Symposium as pointed

commentary on the defendant’s Turkish prosecution. That characterization, however, is entirely

incorrect. Not once did the Court, or any other Symposium participant, refer to Zarrab’s case or

even mention Zarrab’s name. What the Court commented on were the events in Turkey in 2013,

which included a purge of law enforcement agents, prosecutors and judges involved in not only

the case charging Zarrab and other co-defendants, but also another case involving the then-

Turkish Prime Minister’s son. And what the Court said about those events was nothing more

than a noncontroversial opinion about the importance of a bedrock of any fair and effective

                                                 12
        Case 1:15-cr-00867-RMB Document 83 Filed 09/14/16 Page 17 of 21



judicial system: judicial independence, and the way to promote that value. The expression of

such a general opinion about current events does not create an appearance of impropriety

requiring recusal. See Aguinda, 241 F.3d at 204 (“[T]he presumption is that a judge will put

personal beliefs aside and rule according to the laws as enacted, as required by his or her oath,”

and no appearance of impropriety is “created by the fact that every judge inevitably has opinions

on the controversies of the day.”). See also In re Judicial Misconduct, 632 F.3d at 1289

(“Engaging in such law-related activities—including speeches that comment on current events

and legal developments—is permitted not only because judges are citizens, but because they are

particularly knowledgeable on such topics.”); Pitera, 5 F.3d at 626 (denying recusal motion

where judge had given speeches to law enforcement about “steps they might take to increase the

prospects for conviction in narcotics cases”). And that is particularly the case when, as here, the

Court had already expressed similar views about judicial independence at other conferences,

including at one just the year before in Albania. See Pitera, 5 F.3d at 626 (denying recusal

motion, and noting judge has given lectures on similar topics before).

       Indeed, contrasting the Court’s expression of a general opinion about current events with

the cases to which the defendant cites in which recusal was deemed to be appropriate only

highlights how innocuous the Court’s remarks were. In those cases, the challenged conduct

specifically involved parties to the litigation before them. See In re Sch. Asbestos Litig., 977

F.2d 764, 770 (3d Cir. 1992), as amended (Oct. 8, 1992) (district judge attended a conference

expressly organized by a party to the litigation before him, which was funded by money

distributed from an escrow fund administered by the district judge, and some of those funds were

used to pay the judge’s own expenses for the conference); Ligon v. City of New York, 736 F.3d

118, 127 (2d Cir. 2013), vacated in part, 743 F.3d 362 (2d Cir. 2014) (in lawsuit against the New



                                                 13
          Case 1:15-cr-00867-RMB Document 83 Filed 09/14/16 Page 18 of 21



York City Police Department (the “NYPD”), district judge made comments in the media about

being skeptical of law enforcement and, during court proceeding, encouraged plaintiff suing

NYPD to file another lawsuit and designate it so that it would be assigned to the same judge);

United States v. S. Florida Water Mgmt. Dist., 290 F. Supp. 2d 1356, 1360 (S.D. Fla. 2003)

(recusal appropriate where district judge’s comments in newspaper articles about defendant

made it reasonable to believe that judge mistrusted defendant). Here, the Court did not accept

any benefits from a party to this action, seek out Zarrab’s case, or comment on Zarrab at all.

Rather the Court merely expressed some views about judicial independence and widely-reported

actions taken by the Turkish government. That is not a basis for recusal. See Aguinda, 241 F.3d

at 204.

          An objective observer presented with all of these facts could not reasonably conclude that

this Court, when called upon to preside over the defendant’s American prosecution, would

respond with anything less than impartiality. Indeed, that conclusion becomes even more

untenable when the considered in light of the Court’s disclosure of the facts that pertain to this

alleged bias, which undercuts any suggestion that the Court would try in secret to disadvantage

the defendant. The Court’s disclosure gave the defendant an opportunity to object and he,

rightly, concluded there was nothing to which to object.

          The defendant advances several flawed arguments in an effort to construct an appearance

of judicial bias based on the Court’ remarks about the importance of independence and

impartiality. First, Zarrab argues that pairing the Court’s remarks with one of the Government’s

bail arguments creates the appearance of impropriety. But that contention misconstrues the

Court’s remarks. The Court never opined on the defendant’s guilt in the Turkish prosecution, or

even connected Zarrab—either explicitly or implicitly—to any of the issues about which the



                                                  14
        Case 1:15-cr-00867-RMB Document 83 Filed 09/14/16 Page 19 of 21



Court was speaking. Lacking any such connection, the defendant instead suggests that the

Court’s decision to deny Zarrab bail would lead to the appearance of impropriety because the

Government “argued—successfully—against Mr. Zarrab’s application for bail by alleging that in

the course of his Turkish case he had joined forces with the Turkish government to attack the

rule of law . . . .” (Mot. at 16). The Court’s bail decision, however, is not a basis for recusal.

See Liteky, 510 U.S. at 555 (“[J]udicial rulings alone almost never constitute a valid basis for a

bias or partiality motion.”). Moreover, the only mention of the Turkish prosecution in the

Court’s bail decision is in a footnote, where the Court briefly describes the Government’s

allegations without opining on their validity. 5 (Bail Order at 12 n.8). Thus, the defendant’s

claim that reasonable observers would conclude that “the Court already formulated opinions,

prior to this case, bearing on Mr. Zarrab’s purported criminality and his relationship with

officials of the Turkish government,” (Mot. at 16), lacks any foundation. Such speculative

allegations of bias are an insufficient basis for recusal. See generally Lovaglia, 954 F.2d at 815

(“remote, contingent, indirect, or speculative” allegations of bias do not warrant recusal).

       Next, Zarrab argues that the Court should take into account reactions by some members

of the Turkish press. Again, Zarrab is wrong. The Second Circuit has emphasized that

“[j]udicial inquiry may not . . . be defined by what appears in the press.” Drexel, 861 F.2d at

1309. That is true even if the allegations of partiality have been widely reported: “[A] judge

should not grant a recusal motion simply because a claim of partiality has been given widespread




5
  The Government anticipates arguing that evidence relating to the investigation of Zarrab in
Turkey will be relevant at trial as proof of, among other things, Zarrab’s willfulness and intent and
to rebut any defense of good faith. In any event, the extent to which the Turkish investigation may
or may not be relevant to the charged offenses in this case can be resolved at an appropriate time
when those issues are ripe and properly raised.

                                                 15
           Case 1:15-cr-00867-RMB Document 83 Filed 09/14/16 Page 20 of 21



publicity.” Aguinda, 241 F.3d at 206. Thus, regardless of what allegations, hypotheses, or

conspiracy theories are advanced in the press, domestic or foreign, those are not a basis for

recusal.

       Finally, Zarrab argues that the recent reported arrests of members of one of the law firms

that sponsored the Symposium, possibly based on their alleged connections to Fetullah Gulen,

further bolsters the appearance of impropriety because the Court was “the guest of a symposium

sponsor that has now been targeted by the government that your Honor criticized for its handling

of Mr. Zarrab’s 2013 case and that prosecutors here have claimed is aligned with Mr. Zarrab.”

(Mot. 17). But as explained above, the charges against Zarrab in Turkey were never mentioned

by the Court or any other Symposium participant and the Court’s uncontroversial remarks about

the importance of judicial independence and impartiality—and near universal recognition that

those principles appear to have been compromised to at least some degree in Turkey—do not call

the Court’s impartiality in this case into question. Nor is there any evidence or suggestion that

the members of a firm that sponsored the Symposium, or their arrest two years later, have any

connection to the Court, this case, or Zarrab’s arrest in Turkey. Indeed, there is no evidence or

suggestion that the Court was even aware of the arrests. The defendant cannot satisfy his heavy

burden, however, through such contingent and speculative allegations. See generally Lovaglia,

954 F.2d at 815 (“remote, contingent, indirect, or speculative” allegations of bias do not warrant

recusal).




                                                16
        Case 1:15-cr-00867-RMB Document 83 Filed 09/14/16 Page 21 of 21



                                           CONCLUSION

       Accordingly, the Government respectfully requests that the Court deny the defendant’s

motion for the Court to recuse itself.

Dated: New York, New York
       September 14, 2016

                                               Respectfully submitted,

                                               PREET BHARARA
                                               United States Attorney


                                         by:            /s/
                                               Michael D. Lockard
                                               Sidhardha Kamaraju
                                               David W. Denton, Jr.
                                               Dean C. Sovolos
                                               Assistant United States Attorneys
                                               (212) 637-2193/6523/2744/2213


cc:    Defense counsel of record (by ECF)




                                                 17
